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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                 1:24-cv-03639-TWT
                    Isaac Hayes Enterprises, LLC et al v. Trump et al
                           Honorable Thomas W. Thrash, Jr.

                   Minute Sheet for proceedings held In Open Court on 09/03/2024.


    TIME COURT COMMENCED: 10:10 A.M.
                                                   COURT REPORTER: Diane Peede
    TIME COURT CONCLUDED: 11:30 A.M.
                                                   CSO/DUSM: 2 CSOs
    TIME IN COURT: 1:20
                                                   DEPUTY CLERK: Jordyn Holder
    OFFICE LOCATION: Atlanta

ATTORNEY(S)          William Barwick representing National Rifle Association of America, Inc.
PRESENT:             William Carver representing Donald J. Trump for President 2024, Inc.
                     William Carver representing Donald John Trump
                     Ronald Coleman representing Donald J. Trump for President 2024, Inc.
                     Ronald Coleman representing Donald John Trump
                     Brian Lea representing Republican National Committee
                     Alex Pisciarino representing Turning Point USA, Inc.
                     H. Redway representing National Rifle Association of America, Inc.
                     James Walker representing Isaac Hayes Enterprises, LLC
                     James Walker representing The Estate of Isaac Hayes
PROCEEDING
                     Motion Hearing(PI or TRO Hearing-Evidentiary);
CATEGORY:
MOTIONS RULED        [10]Motion for Preliminary Injunction GRANTED IN PART & DENIED
ON:                  IN PART

MINUTE TEXT:         Hearing held on the [10] Amended Motion for Preliminary Injunction.
                     The motion was WITHDRAWN by the Plaintiffs as to Defendants
                     Turning Point USA, Inc., National Rifle Association of America, Inc., and
                     Republican National Committee. The Court heard arguments from the
                     parties on the motion. For the reasons stated on the record, the Court
                     GRANTED IN PART & DENIED IN PART the motion. Written order to
                     follow.
HEARING STATUS:      Hearing Concluded
